                          Case 1:21-cv-02887-EGS Document 8
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                                                                                2 of 5
                                                                                     8

  AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

   Civil Action No.

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

             This summons for (name of individual and title, if any) National Rifle Association of America Political Victory Fund
   was received by me on (date)                11/3/2021                .

             ’ I personally served the summons on the individual at (place)
                                                                                  on (date)                             ; or

             ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                   , a person of suitable age and discretion who resides there,
             on (date)                               , and mailed a copy to the individual’s last known address; or

             ’ I served the summons on (name of individual)                                                                      , who is
              designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                             ; or

             ’ I returned the summons unexecuted because                                                                              ; or

             ’ Other (specify):
            On November 5, 2021, I sent by certified mail copies of the complaint, certificate of disclosure, summons and all       .
            other documents initially filed with the complaint to the National Rifle Association of America Political Victory Fund,
            pursuant to FRCP 4(h)(1)(A), 4(e)(1), and DC CR 4(c). The documents were received by the NRA-PFV on November 10, 2021.

             My fees are $                           for travel and $                  for services, for a total of $          0.00          .


             I declare under penalty of perjury that this information is true.


   Date:         11/18/2021                                             /s/
                                                                                              Server’s signature

                                                                         Abreya Bailey-Higgins, CLC Action Paralegal
                                                                                          Printed name and title
                                                                                Campaign Legal Center Action
                                                                                1101 14th St. NW, Ste. 400
                                                                                Washington, DC 20005
                                                                                              Server’s address

   Additional information regarding attempted service, etc:
Attached as Exhibit 1 and 2 are the following USPS documents showing proof of service of copies of the complaint, certificate of
disclosure, summons and all other initially filed documentation to the National Rifle Association of America Political Victory Fund:
(i) certified mail receipt # 7021-0350-0001-1593-6168 and (ii) electronic delivery confirmation for mail package
# 7021-0350-0001-1593-6168.
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               EXHIBIT 1
11/16/21, 11:19 AM     Case 1:21-cv-02887-EGS Document 8IMG-0755.jpg
                                                           Filed 11/18/21 Page 3 of 5




https://mail.google.com/mail/u/2/#inbox/FMfcgzGlksGvNxLSBMmjXzKNvvzvpKDw?projector=1    1/1
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               EXHIBIT 2
11/15/21, 11:13 AM     Case 1:21-cv-02887-EGS Document
                                                USPS.com®8- USPS
                                                             Filed  11/18/21
                                                                 Tracking® Results Page 5 of 5




   USPS Tracking
                                           ®                                                                    FAQs   




                                                 Track Another Package                   +




                                                                                                              Remove   
   Tracking Number: 70210350000115936168

   Your item was picked up at a postal facility at 10:29 am on November 10, 2021 in FAIRFAX, VA
   22030.




     Delivered, Individual Picked Up at Postal Facility




                                                                                                                       Feedback
   November 10, 2021 at 10:29 am
   FAIRFAX, VA 22030


   Get Updates        




                                                                                                                 
       Text & Email Updates


                                                                                                                 
       Tracking History


                                                                                                                 
       Product Information



                                                              See Less      




                                 Can’t find what you’re looking for?
                         Go to our FAQs section to find answers to your tracking questions.


https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=2&text28777=&tLabels=70210350000115936168%2C                  1/2
